            Case 2:10-cr-00299-WBS Document 500 Filed 12/29/15 Page 1 of 3


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 8
                                  UNITED STATES DISTRICT COURT
 9
                                  EASTERN DISTRICT OF CALIFORNIA
10

11   UNITED STATES OF AMERICA,                     CASE NO. 2:10-CR-00299-WBS
12                                  Plaintiff,     STIPULATION REGARDING EXCLUDABLE
                                                   TIME PERIODS UNDER SPEEDY TRIAL
13                           v.                    ACT; FINDINGS AND ORDER
14   LOUIE SALAZAR,                                DATE: January 4, 2016
                                                   TIME: 9:00 a.m.
15                                  Defendant.     COURT: Hon. William B. Shubb
16

17                                            STIPULATION

18         Plaintiff United States of America, by and through its counsel of record, and

19 defendant, by and through defendant’s counsel of record, hereby stipulate as follows:

20         1.     By previous order, this matter was set for status on January 4, 2016.

21         2.     By this stipulation, defendant now moves to continue the status conference

22 until February 8, 2016, and to exclude time between January 4, 2016, and February 8,

23 2016, under Local Code T4.

24         3.     The parties agree and stipulate, and request that the Court find the

25 following:

26                a)      Counsel for defendant desires additional time to consult with his

27         client, conduct investigation and research related to the charges, review the

28         discovery, discuss potential resolution, and otherwise prepare for trial.


      STIPULATION REGARDING EXCLUDABLE TIME        1
      PERIODS UNDER SPEEDY TRIAL ACT
            Case 2:10-cr-00299-WBS Document 500 Filed 12/29/15 Page 2 of 3


 1                b)      Specifically, in December 2015, the defendant requested additional

 2         discovery from the United States and the United States produced the requested

 3         discovery.

 4                c)      Counsel for defendant believes that failure to grant the above-

 5         requested continuance would deny him/her the reasonable time necessary for

 6         effective preparation, taking into account the exercise of due diligence.

 7                d)      Although the Indictment was filed in 2010, the defendant was not

 8         arrested until December 2014. The defendant is currently out of custody and being

 9         supervised by the Pretrial Services Officer.

10                e)      The government does not object to the continuance.

11                f)      Based on the above-stated findings, the ends of justice served by

12         continuing the case as requested outweigh the interest of the public and the

13         defendant in a trial within the original date prescribed by the Speedy Trial Act.

14                g)      For the purpose of computing time under the Speedy Trial Act, 18

15         U.S.C. § 3161, et seq., within which trial must commence, the time period of

16         January 4, 2016 to February 8, 2016, inclusive, is deemed excludable pursuant to 18

17         U.S.C.§ 3161(h)(7)(A), B(iv) [Local Code T4] because it results from a continuance

18         granted by the Court at defendant’s request on the basis of the Court’s finding that

19         the ends of justice served by taking such action outweigh the best interest of the

20         public and the defendant in a speedy trial.

21         IT IS SO STIPULATED.

22 Dated: December 28, 2015                            BENJAMIN B. WAGNER
                                                       United States Attorney
23

24                                                     /s/ JUSTIN L. LEE
                                                       JUSTIN L. LEE
25                                                     Assistant United States Attorney
26
     Dated: December 28, 2015                          /s/ MICHAEL BIGELOW
27                                                     MICHAEL BIGELOW
28                                                     Counsel for Defendant
                                                       LOUIE SALAZAR

      STIPULATION REGARDING EXCLUDABLE TIME        2
      PERIODS UNDER SPEEDY TRIAL ACT
           Case 2:10-cr-00299-WBS Document 500 Filed 12/29/15 Page 3 of 3


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 3                                    FINDINGS AND ORDER

 4        IT IS SO FOUND AND ORDERED this 29th day of December, 2015.

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 6        Dated: December 29, 2015

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     STIPULATION REGARDING EXCLUDABLE TIME    3
     PERIODS UNDER SPEEDY TRIAL ACT
